OPINION-AG- **** INDUSTRIAL COURT — HANDBOOKS — SALE **** THE DEPARTMENT OF LIBRARIES IS NOT REQUIRED BY S.B. NO. 155, SECTION 1, 32ND OKLAHOMA LEGISLATURE, 1ST SESSION, (1969) TP PAY ANY FEE FOR HANDBOOKS DEPOSITED WITH IT BY THE INDUSTRIAL COURT OF OKLAHOMA PURSUANT TO 65 O.S. -114 1968 SUPP. ( GRAYSON P. VAN HORN )
The Department of Libraries is not required by S.B. 155, Section 1, 32nd Oklahoma Legislature, 1st Session (1969) to pay any fee for handbooks deposited with it by the Industrial Court of Oklahoma pursuant to 65 O.S. 3-114 (1968).
The Attorney General has had under consideration your letter of April 16, 1969, wherein you relate that the Industrial Court of Oklahoma has printed a handbook of Workmen's Compensation Laws. You also state that the Industrial Court is required to deposit one hundred copies of this-handbook with the Department of Libraries by virtue of 65 O.S. 3-114 (1968).
You then ask, in effect, the following question:
Is the Department of Libraries required by S.B. 155, Section 1, 32nd Oklahoma Legislature, 1st Session (1969) to pay for the copies of this handbook so deposited with it by the Industrial Court?
Title 65 O.S. 3-114 (1968), provides in part:
"Every agency, authority, department, commission, board, institution, office or officer of the State, except institutions of higher education, who issue or publish, at State expense. . . any book. . . or . . . publication . . . shall immediately deposit a minimum of one hundred copies with the Department, unless otherwise provided by the Director. . . ."
The State Industrial Court states that the handbook of Workmen's Compensation Laws is published at state expense.
S. B. 155, Section 1, 32nd Oklahoma Legislature, 1st Session (1969) provides in pertinent part:
". . . A fee of One Dollar ($1.00) shall be charged for each copy of the handbook of Workmen's Compensation Laws or for any supplement thereto furnished by the court. All fees so collected shall be deposited in the State Treasury in a revolving fund . . which fund shall be a continuing fund not subject to fiscal year limitation. The monies in said fund may be expended by the State Industrial Court in defraying any of the costs and expenses of operating the said court."
In passing section 65 O.S. 3-114, supra, it seems that the legislative intent was that the Department of Libraries should not be required to pay for any publications so deposited with it.
Therefore, it is the opinion of the Attorney General that your question be answered in the negative in that the Department of Libraries is not required by S.B. 155, Section 1, 32nd Oklahoma Legislature, 1st Session (1969) to pay any fee for handbooks deposited with it by the State Industrial Court pursuant to 65 O.S. 3-114 (1968).
(Grayson P. Van Horn)